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     1                        UNITED STATES DISTRICT COURT

     2            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

     3              HONORABLE S. JAMES OTERO, U.S. DISTRICT JUDGE

     4

     5   UNITED STATES OF AMERICA,            )
                                              )
     6                     Plaintiff,         )
                                              )                 Case No.
     7        vs.                             )             CR 17-00697 SJO
                                              )
     8   DANIEL FLINT,                        )             (Pages 1 - 13)
                                              )
     9                     Defendant.         )
         ____________________________________ )
    10

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    12
                                    PARTIAL TRANSCRIPT
    13
                      REPORTER'S TRANSCRIPT OF TRIAL PROCEEDINGS
    14                               TRIAL DAY 1
                              TUESDAY, OCTOBER 16, 2018
    15                         LOS ANGELES, CALIFORNIA

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    22        ________________________________________________________

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     1           LOS ANGELES, CALIFORNIA; TUESDAY, OCTOBER 16, 2018

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     3                MS. WAKEFIELD:     This is a case about trust.       Daniel

     4   Flint trusted his boss, Ambassador Robert Shumake, and he

     5   trusted the International Human Rights Commission.           And this

     6   case is also about mistakes, mistakes made by Mr. Flint and

     7   mistakes made by TSA.      Mr. Flint is an imperfect man who made

     8   mistakes, but imperfection is not intent, and mistakes are not

     9   a crime.

    10          Now, Mr. Flint is from small-town Michigan, and he stayed

    11   there first for college and then law school.          And after law

    12   school he didn't get a fancy job with a law firm.           He didn't

    13   clerk for a judge.     Instead, he got a job with a part-time solo

    14   practitioner.     And at that small office was a big-time client,

    15   Robert Shumake.     And it was through that job that brand-new

    16   attorney Mr. Flint met Mr. Shumake in 2010.

    17          Mr. Flint believed that Mr. Shumake was an internationally

    18   connected man with substantial experience, knowledge, and

    19   sophistication regarding diplomatic laws.         In 2012 Mr. Shumake

    20   was appointed as honorary consul of the Republic of Botswana

    21   and the Republic of Tanzania, and the U.S. Department of State

    22   recognized him in that position.

    23          And then in 2016 Mr. Shumake was appointed as the U.S.

    24   ambassador for the International Human Rights Commission relief

    25   fund trust, the IHRC.      And that's a human rights organization




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     1   with special consultative status in the United Nations.            To

     2   Mr. Flint, Ambassador Shumake was highly accomplished.           He was

     3   knowledgeable about diplomatic laws and customs.          After all,

     4   that was his job, and he was trustworthy.

     5          Now, after Mr. Shumake began with the IHRC in his

     6   ambassador position, he offered Mr. Flint a position as legal

     7   counsel and diplomatic courier.        Now, the title of legal

     8   counsel for an international human rights organization was

     9   alluring.    It was an opportunity for Mr. Flint to be part of

    10   something bigger, part of something glamorous, an opportunity

    11   he couldn't refuse.

    12          And a job as legal counsel with IHRC is not what you might

    13   think.   He wasn't tasked with writing the bylaws of the

    14   organization or looking at contracts or anything like that.

    15   His job was to fly across the country with a diplomatic pouch

    16   at the direction of Ambassador Shumake.         And it wasn't a

    17   full-time position, but something he did to make ends meet

    18   while he worked on his own -- setting up his own practice.

    19          In October of 2016, Mr. Shumake gave Mr. Flint a sealed

    20   and signed notification officially appointing him as legal

    21   counsel and diplomatic courier for the IHRC.          He gave him a

    22   corresponding IHRC diplomatic corps identification card, and he

    23   gave him a diplomatic pouch that had the organization's emblem

    24   sewn into it.     And Mr. Shumake administered an oath to

    25   Mr. Flint and swore him into the position.




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     1          Then Mr. Flint began his work, which was to transport

     2   diplomatic pouches on behalf of the organization to offices

     3   across the U.S. when directed to do so by Ambassador Shumake.

     4   Now, Mr. Flint's understanding was that the diplomatic pouch

     5   was exempt from TSA screening and that all he needed was the

     6   letter that Ambassador Shumake gave him and his IHRC diplomatic

     7   corps ID card because that's what Mr. Shumake told him, and

     8   that's what the IHRC gave him to do his job.

     9          And Mr. Flint trusted Mr. Shumake.        He relied on his

    10   expertise in diplomatic law, his experience.          And Mr. Shumake

    11   was, of course, prestigious, and he was polished, and he had

    12   given Mr. Flint this incredible opportunity.          And Mr. Flint

    13   didn't think to question Mr. Shumake; that is, until July 25th,

    14   2017, when Mr. Flint was surrounded by the FBI agents, pulled

    15   off of an airplane, interrogated for two hours, and accused of

    16   a federal crime.

    17          Now, the Government has charged Mr. Flint with entering

    18   LAX in violation of LAX's security procedures with the intent

    19   to evade them.     And the date of the charge is July 25th, 2017.

    20   He's not charged with entering Midway Airport in Chicago or

    21   O'Hare Airport in Chicago.       He is not charged with breaking any

    22   state department laws or anything related to this money, so at

    23   its core, this case isn't about those things even though these

    24   are part of the story, but they're only part of the story.

    25          And so let's talk about July 25th, 2017.         And I want to go




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     1   over the flight path that Mr. Flint took that day.           Mr. Flint

     2   boarded a plane at Chicago Midway International Airport, MDW,

     3   and he flew from MDW to Minneapolis-St. Paul International

     4   Airport, or MSP, and from MSP he finally landed at his

     5   destination, LAX.

     6          When he went to the airport at Midway, he submitted to TSA

     7   screening.     He got his boarding pass.      He waited in line at

     8   security.    And when he got to the front of the line, he gave

     9   his boarding pass and his ID to the TSA officer.          He didn't

    10   sneak on the plane.      He didn't try to hide.      He showed the IHRC

    11   diplomatic pouch.     He showed the diplomatic letter with the

    12   raised seal of the organization, signed by ambassador-at-large,

    13   Mr. Shumake.    And this letter says exactly what's inside the

    14   pouch, cash deposit, and he showed his IHRC diplomatic courier

    15   ID card given to him by the organization.

    16          He showed all of these first to a line screening officer,

    17   then to a supervisor and even a TSA manager.          Now, TSA

    18   Manager Raja Wondrasek, who you will hear from, concluded

    19   Mr. Flint satisfied all of TSA's own operating procedures.              And

    20   she decided that he met the rules, and so she let the pouch

    21   into the airport at Midway without being screened.

    22          And Mr. Flint's personal baggage was screened.          His

    23   carry-on bag was screened.       He went through the metal detector.

    24   He did everything else -- everything that everyone else in

    25   precheck with him that day did.        He had his bag go through the




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     1   metal detector, he went through the metal detector, and there

     2   were no issues, and TSA allowed him to proceed.          He boarded his

     3   plane.   He flew to Minneapolis, and he boarded another plane

     4   and flew to LAX.

     5          Now, TSA is the gatekeeper, and they have exclusive

     6   control and say-so over screening at the airport.           We rely on

     7   TSA not only to screen us, but also to tell us when something

     8   is or isn't allowed.      You're going to hear that TSA has an

     9   internal guide for its employees.        It's called the Standard

    10   Operating Procedures, or the SOP.        That guide tells TSA

    11   employees that diplomatic couriers are supposed to have

    12   diplomatic passports.

    13          Now, by law, members of the public are not allowed to look

    14   at the SOP.    They are not allowed to read it.        It's something

    15   only TSA can see.     It's an internal document, and Mr. Flint was

    16   not allowed to read it.      He wasn't allowed to read it to figure

    17   out what he needed and what wasn't allowed.

    18          And you're going to hear that the SOP is confusing.          And

    19   you're going to hear that TSA Manager Wondrasek actually had in

    20   her hand, on July 25th, 2017, an e-mail with the exact

    21   instructions that TSA had given its employees on what was

    22   required for a diplomatic pouch.

    23          And as she read that e-mail in one hand, she looked at

    24   Mr. Flint's documents laid out on the counter before her, and

    25   she compared them, and she even concluded that Mr. Flint




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     1   satisfied the requirements, even though Mr. Flint did not have

     2   a diplomatic passport.      He didn't claim he had a diplomatic

     3   passport, and he didn't present any diplomatic passport that

     4   day.   So not even someone trained on and responsible for

     5   implementing these secret rules and reading it that day in

     6   front of her face could make much sense out of it.

     7          And it was only later that day, while Mr. Flint was

     8   already on his flight on the way to LAX, that TSA in Midway

     9   realized it had made a mistake, and they called the FBI at LAX.

    10          Now, agents at LAX, they intercepted Mr. Flint.          They

    11   seized the diplomatic pouch, and they escorted him inside LAX

    12   to a screening checkpoint.       Mr. Flint then spoke with the FBI

    13   for almost two hours about why he believed he had followed the

    14   rules.   Agents even spoke with Ambassador Shumake after

    15   Mr. Flint called him on his phone to clear up this whole mess.

    16          Mr. Flint himself, he said, "You could search the pouch."

    17   At Midway he presented himself to security.          He explained who

    18   he was, who he worked for, and he showed them all the items

    19   that IHRC had given him.      He didn't claim he had a diplomatic

    20   passport or show any diplomatic passport.         And at LAX he spoke

    21   to agents for two hours and called who he thought was the

    22   ambassador, who had given his permission, and he agreed to let

    23   the pouch be searched.      Those are not the actions of a criminal

    24   trying to sneak or hide or evade security.

    25          Now, you heard that the Government is going to focus on




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     1   things that didn't happen on July 25th.         They are going to

     2   focus on an incident from July 20th, an interaction between

     3   Mr. Flint and TSA at Chicago O'Hare.        And during the course of

     4   this trial, the Government will also focus on a second incident

     5   from September 2016, an interaction between Mr. Flint and a

     6   traffic officer in Horton Township, Michigan.

     7          So I want to talk about the traffic incident first.          That

     8   was in September of 2016.       In that incident Mr. Flint told a

     9   law enforcement officer that he had diplomatic immunity, and

    10   that was incorrect.      And he realized later he shouldn't have

    11   said that, but he wasn't sure at the time.         It was at the very

    12   beginning of his involvement with the IHRC.          He hadn't even

    13   received his ID card yet.       He knew Ambassador Shumake was the

    14   ambassador for the organization, but he didn't yet know what

    15   that meant for his own status.

    16          And he only learned later that diplomatic couriers do not

    17   have diplomatic immunity, and he admitted that because he

    18   wasn't sure that day in September 2016.         He shouldn't have told

    19   the officer that he had diplomatic immunity because he wasn't

    20   sure, and he definitely shouldn't have said that to try to get

    21   out of a traffic ticket.      That was wrong.     But on July 25th,

    22   2017, Mr. Flint expressly told the FBI agents at LAX that he

    23   did not have diplomatic immunity.        He corrected that mistake.

    24          And Mr. Flint, he didn't need diplomatic immunity because

    25   he wasn't doing anything wrong.        So even though he was mistaken




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      1   back in 2016, it doesn't show his intent almost a year later

      2   because by then, he knew that diplomatic couriers, which he

      3   believed he was, didn't have diplomatic immunity, so he didn't

      4   claim to have it.     He said the opposite.

      5         So the other incident that the Government is going to

      6   focus on is what happened at Chicago O'Hare on July 20th.           On

      7   July 20th Mr. Flint went to Chicago O'Hare for a flight on

      8   behalf of the IHRC.     And at TSA he explained he was a

      9   diplomatic courier and showed them all of the documents that

    10    IHRC had given him.

    11          The TSA officer there told him he needed a diplomatic

    12    passport or the pouch had to be screened.         And there is a

    13    conversation between the two, "Where is this rule?          Can I see a

    14    copy of it?"    The officer wouldn't let him.       The officer said

    15    it was secret.    It was in the SOP.      He wasn't allowed to show

    16    Mr. Flint.

    17          And TSA officers watched as Mr. Flint got out his phone to

    18    try to call his boss, Ambassador Shumake, because after all,

    19    Mr. Flint was just the courier; he wasn't the ambassador.           And

    20    as ambassador, Mr. Shumake was the one that gave him the pouch,

    21    the letter, the courier title, and told him to fly.

    22          But Mr. Shumake didn't answer his phone.         And after about

    23    20 minutes of staying at the security checkpoint, drawing

    24    attention to himself, Mr. Flint ultimately gave up and left the

    25    airport.   Again, he didn't try to sneak this pouch through in




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      1   any way, and he never said he had a diplomatic passport.

      2   Instead, he went to Midway Airport in Chicago to try to get on

      3   another flight to do his job, which was to make sure that the

      4   pouch got delivered on time.

      5         At Midway, the first thing he did when he got to security

      6   was he asked to speak to a supervisor.        He didn't try to sneak

      7   in through a low-level TSA screener who may not know the rules.

      8   He asked for a supervisor, to go straight to the top to clear

      9   up this confusion because he thought O'Hare was wrong.           And he

    10    gave that supervisor at Midway all of the same information, all

    11    of the same documents he had just shown at O'Hare.

    12          And with that same exact information and the same exact

    13    documents on the same day, applying the same secret rule, TSA

    14    at Midway concluded that the pouch didn't have to be screened

    15    and that Mr. Flint could proceed.       He was allowed to pass, and

    16    he flew to his destination without any issues.

    17          The evidence will show that it was reasonable for

    18    Mr. Flint to believe that TSA was just wrong; they were wrong

    19    about the requirements they wouldn't even show him because

    20    Midway let him through using the same documents and information

    21    and the same rule.

    22          As you heard, TSA at Midway not only let him through once,

    23    but twice, with the same exact documents.         This evidence isn't

    24    proof that Mr. Flint intended to evade security, and it

    25    certainly isn't proof beyond a reasonable doubt.          Mr. Flint




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      1   didn't have a diplomatic passport.        He didn't claim he had a

      2   diplomatic passport and he didn't present any diplomatic

      3   passport.

      4         If he knew that's what he needed, why use what the

      5   Government is saying is a fake ID?        Why not use a fake

      6   passport?    Why show TSA a letter that says what's inside the

      7   pouch, cash?    Why not drive?     It's because Mr. Flint didn't

      8   know, and the evidence in this case will show only that

      9   Mr. Flint made mistakes.      He trusted people he shouldn't have

    10    trusted.    He made some choices maybe he shouldn't have made,

    11    but being naive or too trusting or even a dupe doesn't make him

    12    guilty of a crime.

    13          At the end of this case, we are going to ask you to find

    14    Mr. Flint not guilty because he's not guilty.         Thank you.

    15                (Partial proceedings concluded at 2:13 p.m.)

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      1                     CERTIFICATE OF OFFICIAL REPORTER

      2

      3   COUNTY OF LOS ANGELES      )
                                     )
      4   STATE OF CALIFORNIA        )

      5

      6                I, CAROL JEAN ZURBORG, Federal Official Realtime

      7   Court Reporter, in and for the United States District Court for

      8   the Central District of California, do hereby certify that

      9   pursuant to Section 753, Title 28, United States Code that the

    10    foregoing is a true and correct transcript of the

    11    stenographically reported proceedings held in the

    12    above-entitled matter and that the transcript page format is in

    13    conformance with the regulations of the judicial conference of

    14    the United States.

    15

    16    Date:   October 17, 2018

    17

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    19                                    /s/ CAROL JEAN ZURBORG

    20                        CAROL JEAN ZURBORG, CSR NO. 7921, CCRR, RMR
                                    Federal Official Court Reporter
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                              UNITED STATES DISTRICT COURT
